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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION

  WANDA COOPER, in her individual                      §
  capacity and as administrator of the                 §
  estate of the decedent, Ahmaud Arbery,               §
                                                       §
                 Plaintiff,                            §
  v.                                                   §        CIVIL ACTION NO.
                                                       §        2:21-CV-00020-JRH
                                                       §
  GEORGE BARNHILL et al.,                              §
                                                       §
                 Defendants.                           §

       DISTRICT ATTORNEY GEORGE BARNHILL’S MOTION TO TAKE JUDICIAL
                                 NOTICE


          COMES NOW, District Attorney George Barnhill, Defendant in the above-styled case,

  with this his Motion to Take Judicial Notice, showing this Honorable Court as follows:

          IN SUPPORT of this motion, these Defendant states that the subject facts are “generally

  known within the trial court’s territorial jurisdiction” and the facts and documents “can be

  accurately and readily determined from sources whose accuracy cannot reasonably be

  questioned.” FRE 201(b). The court “must take judicial notice if a party requests it and the court

  is supplied with the necessary information.” FRE 201(c)(2).

       1. Defendant requests that this Court take judicial notice of the facts contained in the

          “Statement of Facts and Allegations in the Complaint” section of the Brief in Support of

          Barnhill’s Motion to Dismiss. (Doc. 141). The facts are taken from the documents attached

          as Exhibits A and B to the Motion to Dismiss and were disseminated by the Georgia

          Attorney General’s Office.1 (Docs. 141-1 and 141-2).


  1
     The documents can be downloaded from the Georgia Attorney General’s website at:
  https://bit.ly/law-georgia-gov-arbery-docs
                                                 -1-
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         Although the Motion to Dismiss does not hinge on the admissibility or judicial notice of

         these facts or documents, each illuminates the story and background behind Plaintiff’s

         claims and Defendant Barnhill’s defenses. The documents that are attached as exhibits to

         Barnhill’s Motion to Dismiss are mentioned repeatedly in the Amended Complaint and

         the authenticity of the documents is not at issue.



         WHEREFORE, Defendant respectfully requests that this Honorable Court grant this

  Motion by taking judicial notice of the facts and documents attached as Exhibits A, (Doc. 141-1),

  and B, (Doc. 141-2), to Defendant Barnhill’s Motion to Dismiss, (Doc. 141).



   This 29th day of August, 2022.
                                                       HENEFELD & GREEN, P.C.

                                                       /s/ Noah Green
                                                       Noah Green
                                                       Georgia Bar No. 468138
                                                       Attorney for Defendant Barnhill
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                                                       §
  GEORGE BARNHILL et al.,                              §
                                                       §
                Defendants.                            §

                                   CERTIFICATE OF SERVICE

         This is to certify that I have this day served all counsel of record with a copy of Defendant

  Barnhill’s Motion to Take Judicial Notice by filing same with the Clerk of Court using the

  CM/ECF system which will send notification of such filing to all counsel of record.


  This 29th day of August, 2022.
                                                       HENEFELD & GREEN, P.C.

                                                       /s/ Noah Green
                                                       Noah Green
                                                       Georgia Bar No. 468138
                                                       Attorney for Defendant Barnhill
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